                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

TOMMIE LEE BARNES, JR.                        )
               Plaintiff,                     )
                                              )
v.                                            )      JUDGMENT
                                              )
                                              )      No: 5:20-CV-97-FL
                                              )
KILOLO KIJAKAZI,                              )
Acting Commissioner of Social Security,       )
                     Defendant.               )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the parties’ cross-motions for judgment on the pleadings and the memorandum and
recommendation of the United States Magistrate Judge, to which objections were filed.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
September 28, 2021, and for the reasons set forth more specifically therein, that plaintiff’s motion
for judgment on the pleadings is granted and defendant’s motion for judgment on the pleadings is
denied. This matter is remanded to defendant pursuant to sentence four of 42 U.S.C. § 405(g) for
further proceedings.

This Judgment Filed and Entered on September 28, 2021, and Copies To:
Derrick Kyle Arrowood (via CM/ECF Notice of Electronic Filing)
Cassia W. Parson (via CM/ECF Notice of Electronic Filing)


September 28, 2021                            PETER A. MOORE, JR. CLERK

                                                /s/ Sandra K. Collins
                                              (By) Sandra K. Collins, Deputy Clerk




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